      Case
11/29/22,      1:23-cv-20188-RKA
          1:47 PM                      Document
                          Encounter - Office Visit Date of40-10      Entered
                                                           service: 06/12/20      onPAIGE
                                                                             Patient: FLSD    Docket 02/24/2023
                                                                                          E FINKELSTEIN DOB: 05/05/1992 Page   1 of 5
                                                                                                                        PRN: FP590059


PATIENT                                            FACILITY                                           ENCOUNTER
PAIGE E FINKELSTEIN                                Yolanda Burgos Zarate MD PA                        NOTE TYPE           psychiatry
DOB            05/05/1992                          T (305) 674-7498                                   SEEN BY             Yolanda Zarate M.D
AGE            30 yrs                              F (786) 216-7183                                   DATE                06/12/2020
SEX            Female                              4302 Alton Road                                    AGE AT DOS          28 yrs
PRN            FP590059                            Suite 845                                          Electronically signed by Yolanda Zarate
                                                   Miami Beach, FL 33140                              M.D at 11/05/2020 03:36 pm

Chief complaint
 (Appt time: 11:30 AM) (Arrival time: 10:09 AM)"I feel very sad unhappy with the politics"

  Patient identifying details and demographics
  FIRST NAME              PAIGE                    SEX                     Female                   RACE                    -
  MIDDLE NAME             E                        DATE OF BIRTH           05/05/1992               ETHNICITY               -
  LAST NAME               FINKELSTEIN              DATE OF DEATH           -                        PREF. LANGUAGE          -
  SSN                     -                        PRN                     Redacted                 STATUS                  Active patient
  CONTACT INFORMATION
  ADDRESS LINE 1          Redacted                 CONTACT BY              -
                                                   EMAIL                   paige@finkelstein.u
  ADDRESS LINE 2          Redacted                                         s
  CITY                    Redacted                 HOME PHONE              -
  STATE                   Redac
                                                   MOBILE PHONE            Redacted
  ZIP CODE                Redacted                 OFFICE PHONE            -
                                                   OFFICE EXTENSION        -
  FAMILY INFORMATION
  NEXT OF KIN                         -                                    PATIENT'S MOTHER'S MAIDEN            -
  RELATION TO PATIENT                 -                                    NAME
  PHONE                               -
  ADDRESS                             -
  PATIENT NOTES
 Redacted




Vitals for this encounter
No vitals recorded

  Diagnoses
  Was diagnosis reconciliation completed?
  Yes, reconciliation performed
  Current                                                                  ACUITY                   START                   STOP
  Major depressive disorder, recurrent episode, moderate degree            Chronic
  Adult ADD                                                                Chronic
  Historical                                                               ACUITY                   START                   STOP
  Major depressive disorder, single episode, severe without                Acute                    06/12/2020              11/05/2020
  psychotic features



  Drug Allergies
https://static.practicefusion.com/apps/ehr/index.html#/PF/charts/patients/4e5faa52-587a-4599-a9da-b83018f0455d/encounter/bdc35ded-a67c-4161-9…   1/5
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  Was medication allergy reconciliation completed?
  Yes, reconciliation performed
  Active                                                                               SEVERITY/REACTIONS                   ONSET
  Patient has no known drug allergies

  Food Allergies
  Active                                                                               SEVERITY/REACTIONS                   ONSET
  No food allergies recorded

  Environmental Allergies
  Active                                                                               SEVERITY/REACTIONS                   ONSET
  No environmental allergies recorded



  Medications
  Was medication reconciliation completed?
  Yes, reconciliation performed
  Active                                           SIG                                 START/STOP               ASSOCIATED DX
 Redacted




  Historical                                       SIG                                 START/STOP               ASSOCIATED DX
 Redacted                                 G                                   y                  0




https://static.practicefusion.com/apps/ehr/index.html#/PF/charts/patients/4e5faa52-587a-4599-a9da-b83018f0455d/encounter/bdc35ded-a67c-4161-9…   2/5
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  Social history
  TOBACCO USE                                                                                                               RECORDED
  Current tobacco use
  Non-smoker                                                                                                                07/05/2020
  ALCOHOL USE                                                                                                               RECORDED
  No alcohol use history available for this patient
  SOCIAL HISTORY (FREE-TEXT)
  Single no children
  FINANCIAL RESOURCES                                                                                                       RECORDED
  No financial resources recorded for this patient
  EDUCATION                                                                                                                 RECORDED
  No education recorded for this patient
  PHYSICAL ACTIVITY                                                                                                         RECORDED
  No physical activity available for this patient
  NUTRITION HISTORY                                                                                                         RECORDED
  No nutrition history available for this patient
  STRESS                                                                                                                    RECORDED
  No stress available for this patient
  SOCIAL ISOLATION AND CONNECTION                                                                                           RECORDED
  No social isolation and connection available for this patient
  EXPOSURE TO VIOLENCE                                                                                                      RECORDED
  No exposure to violence history available for this patient
  GENDER IDENTITY
  Female
  SEXUAL ORIENTATION
  Straight or heterosexual



  Past medical history
  ONGOING MEDICAL PROBLEMS
 Redacted
  SOCIAL HISTORY
 Redacted




  Family health history
  DIAGNOSIS                                                                                                                 ONSET DATE
  No Family health history recorded
  FAMILY HEALTH HISTORY (FREE TEXT)
  No family health history (free text) available for this patient.



  psychiatry


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  INITIAL INTAKE:

  Duration: 1 hour.

  DOB: 5/5 1992

  IDENTIFYING DATA: 28 y/o female Born in Canada Single Children none Living alone Occupation Surgical Resident Education
  Medical School

  REFERRAL SOURCE: Self

  RELIABILITY : Good.

  CHIEF COMPLAINT: "I am very depressed and disappointed"

  HISTORY OF PRESENT ILLNESS: This is a case of a 28 y/o female who comes to the clinic today to establish care with this program
  today. She refers she is very disappointed with current situation at her residency training program:"The guys are very chauvinistic
  and do not take us seriously they are also treating us as if we did not count and other female residents feel same but they do not
  say any thing for fear of retaliation"She scored 13 on PHQ-9 Depression Questionnaire She is also sad about a break from a year
  long relationship:"He broke up the relationship and I still miss him a lot"

  ALLERGIES: NKA

  CURRENT PSYCH MEDICATIONS: no

  CURRENT NON-PSYCH MEDICATIONS: no

  PAST PSYCHIATRIC HISTORY:
  • O/P Psychiatrist/therapists: Denied
  • Previous diagnosis: no
  • Previous admissions: no
  • Previous suicide attempts: no
  • Past Medication History: no

  SUBSTANCE ABUSE HISTORY:Denied
  • Tobacco: no
  • ETOH: no
  • Illicit Drugs: no
  • Rehab Programs: no

  SOCIAL HISTORY:
  • Living Situation: lives alone
  • Marital History: single recently ended a relationship with a fellow resident a year ago
  • Children: no
  • Occupation: surgical resident
  • Education: Medical School
  • Parents: alive in Canada
  • Siblings: 1 sister 26 y/o
  • Sexual Orientation: heterosexual.
  • History of Abuse: denies.
  • Legal:

  FAMILY PSYCHIATRIC HISTORY: Sister suffers from ADD

   MEDICAL HISTORY: Denied
  REVIEW OF SYSTEMS:. General: No weight change, generally healthy, no change in strength or exercise tolerance. Head: No
  headaches, no vertigo, no injury. Eyes: Normal vision, no diplopia, no tearing, no scotomata, no pain. Ears: No change in hearing, no
  tinnitus, no bleeding, no vertigo. Nose: No epistaxis, no coryza, no obstruction, no discharge. Mouth: No dental difficulties, no
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  gingival bleeding, no use of dentures. Neck: No stiffness, no pain, no tenderness, no noted masses. Breast: No noted lumps, no
  tenderness, no swelling, no nipple discharge. Chest: No dyspnea, no wheezing, no hemoptysis, no cough. Heart: No chest pains, no
  palpitations, no syncope, no orthopnea. Abdomen: No change in appetite, no dysphagia, no abdominal pains, no bowel habit
  changes, no emesis, no melena. GU: No urinary urgency, no dysuria, no change in nature of urine. Gyn: No change in menses, no
  dysmenorrheal, no vaginal discharge, no pelvic pain. Musculoskeletal: No pain in muscles or joints, no limitation of range of motion
  no paresthesias or numbness. Neurologic: No weakness, no tremor, no seizures, no changes in mentation, no ataxia. Psychiatric:
  positive for depressive symptoms, changes in sleep habits, no changes in thought content.

  Mental Status Exam
  Appearance good grooming and hygiene attitude cooperative friendlySpeech & Language normal rate and productivity Behavior
  ok Functionality social isolation Sleep poor Appetite poor Mood depressed Thought process goal directed Content pessimistic
  SuicidalHomicidal denied Perceptions no A/V hallucinations.
  Cognition Sensorium alert Orientation x 3 Memory intact Attention Concentration ok Capacity to read and write ok Visuospacial
  Ability ok Abstract thinking ok Fund of information ok Impulse control ok Insight good Judgment not impaired Reliability reliable.
  Neuromuscular Involuntary movements no Gait & Station ok Muscle Strength/Tone normal.

  Impression
  Major Depressive Disorder Single Episode Severe

  Recommendations
  start antidepressant Wellbutrin 75mg daily and taper up as tolerated
  Refer to Dr Melissa Friedman for therapy
  RTC in 1month




  :..


  Orders
  LAB ORDERS
  No orders attached to this encounter.
  IMAGING ORDERS
  No orders attached to this encounter.




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